                        Case 19-11938-LSS     Doc 203-1        Filed 11/15/19   Page 1 of 1

                                                  EXHIBIT 1

                             Contracts for Potential Assumption and Assignment


     Contract Counterparty       Contract Counterparty             Contract Description         Cure
                                    Address/Contact                                            Amount
                                       Information
    Susan Bates 2001            Nicholas L Bates                 Lease for property located   $0
    Revocable Trust             PO Box 242                       at:
                                Duxbury, MA 02331                1201 25th Street
                                                                 San Francisco, CA 94107

    Laurance & Jeanette         Laurance Mathews                 Lease for                    $0
    Mathews Family Trust        360 Ritch Street, Suite 204      property located at:
                                San Francisco, CA 94107          360 Langston
                                                                 San Francisco, CA 94107

    Amazon Web Services,        Amazon Web Services, Inc.        Cloud-based storage for      $0
    Inc.                        410 Terry Ave North              Company information
                                Seattle, WA 98109

    Atlassian                   350 Bush St., Floor 13           Information on Lab           $0
                                San Francisco, CA 94104          Process validation, QMS
                                                                 and regulatory information

    Github                      88 Colin P Kelly Jr. Street,     Repository for IP related to $0
                                San Francisco, CA 94107          R&D software,
                                                                 bioinformatics and data to
                                                                 run on AWS platform

    Google G-Drive              Google LLC                       Company-shared directory     $0
                                1600 Amphitheatre Pkwy
                                Mountain View, CA 94043




DOCS_DE:226216.2 31271/001
